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                      Nos. 21-4072/22-3351/23-3196/23-3324/23-3366/23-3417

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT


DAYTON POWER & LIGHT COMPANY, dba                        )
AES Ohio, et al. (21-4072/22-3351); AMERICAN             )
ELECTRIC POWER SERVICE CORPORATION                       )
(23-3196/23-3366); OFFICE OF THE OHIO                    )
CONSUMERS' COUNSEL (23-3324/23-3417),                    )
                                                         )
       Petitioners,                                      )
                                                         )
v.                                                       )            ORDER
                                                         )
FEDERAL ENERGY REGULATORY                                )
COMMISSION,                                              )
                                                         )
       Respondent.                                       )


       These petitions for review challenge similar orders of the Federal Energy Regulatory

Commission (FERC) regarding electric transmission rate incentives and regional transmission

organization eligibility. On June 28, 2023, the parties filed joint motions to consolidate these

related matters, to defer filing of a joint appendix, and provided an agreed plan for briefing.

       It is hereby ORDERED that the joint motions are GRANTED and that Case Nos. 21-

4072, 22-3351, 23-3196, 23-3324, 23-3366, and 23-3417 are CONSOLIDATED, the filing of the

Joint Appendix is DEFERRED until December 15, 2023, and the following briefing schedule and

expansion of the relevant word limit as noted below, is adopted. As various motions to intervene

remain pending before the court at this time, the schedule provisionally includes any proposed

intervenors’ briefs, pending a ruling by the court on said motions.
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                                                                     -2-


                                   •    Indexes to the record will be filed by July 17, 2023.
                                   •    Petitioners’ opening briefs will be filed no later than July 31, 2023, and should
                                        not exceed 13,000 words. American Electric Power Service Corporation may file
                                        one brief. FirstEnergy Service Company, Duke Energy Ohio, and Dayton Power
                                        & Light Company may file one brief. Office of the Ohio Consumers' Counsel
                                        may file one brief.
                                   •    Proposed Intervenors’ briefs in support of Petitioners will be filed no later than
                                        August 22, 2023, and should not exceed 9,100 words.
                                   •    The single consolidated principal brief of Respondent FERC will be filed no later
                                        than October 30, 2023, and should not exceed 20,000 words.
                                   •    Proposed Intervenors’ briefs in support of Respondent FERC will be filed no later
                                        than November 21, 2023, and should not exceed 9,100 words.
                                   •    Petitioners’ reply briefs will be filed no later than December 8, 2023, and should
                                        not exceed 6,500 words.
                                   •    Proposed Intervenors’ reply briefs in support of Petitioners will also be filed no
                                        later than December 8, 2023, and should not exceed 4,550 words.
                                   •    The Joint Appendix will be filed no later than December 15, 2023.
                                   •    Any corrected briefs necessary to appropriately cite to the Joint Appendix will be
                                        filed no later than December 22, 2023.

                                                                       ENTERED PURSUANT TO RULE 45(a)
                                                                       RULES OF THE SIXTH CIRCUIT




                                                                       Deborah S. Hunt, Clerk




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